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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                         PLAINTIFF

v.                               No. 4:08CR00303-02 JLH

CHRISTOPHER RAMON ROY                                                         DEFENDANT


                                          ORDER

       The government has filed a motion to dismiss without prejudice as to Christopher Ramon

Roy. Without objection, the motion is GRANTED. Docket #56. The indictment is hereby

dismissed without prejudice as to Christopher Ramon Roy.

       IT IS SO ORDERED this 21st day of October, 2009.




                                                  J. LEON HOLMES
                                                  UNITED STATES DISTRICT JUDGE
